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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               October 10, 2018
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

FLAVIO TAMEZ,                              §
                                           §
          Plaintiff,                       §
VS.                                        §   CIVIL ACTION NO. 2:18-CV-83
                                           §
UNITED STATES OF AMERICA, et al,           §
                                           §
          Defendants.                      §

                      MEMORANDUM OPINION AND ORDER
                   GRANTING THE UNITED STATES’ MOTIONS
                  TO DISMISS, DISMISSING REMAINING CLAIMS,
                 AND DENYING PLAINTIFF’S MOTION TO AMEND

         Plaintiff Flavio Tamez is a federal prisoner appearing pro se and in forma

pauperis. In this civil action, Plaintiff seeks the return of approximately 30 pieces of

gold jewelry that he claims were seized by Immigration and Customs Enforcement (ICE)

agents. Pending before the Court are a Motion to Dismiss (D.E. 19) and an Amended

Motion to Dismiss (D.E. 33) filed by the United States of America. Also pending is

Plaintiff’s Motion for Leave to File Second Amended Complaint. (D.E. 44).

         For the reasons stated herein, the Court GRANTS the United States’ motion and

amended motion to dismiss. (D.E. 19, 33). Further, Plaintiff’s claims against the United

States and all named individual defendants under Bivens v. Six Unknown Names Agents

of Federal Bureau of Narcotics, 403 U.S. 388 (1971) and claims against the United States

under the Administrative Procedure Act (“APA”), 5 U.S.C § 702, are DISMISSED



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pursuant to 28 U.S.C. § 1915(e)(2)(B). Lastly, Plaintiff’s motion to amend (D.E. 44) is

DENIED.

I.       JURISDICTION

         The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331. This

case has been reassigned to the undersigned magistrate judge on the consent of the parties

pursuant to 28 U.S.C. § 636. (D.E. 7, 10, 43).

II.      BACKGROUND

         On April 8, 2012, Plaintiff was arrested on a warrant resulting from an indictment

returned on May 23, 2012, charging him with Conspiracy to Possess with the Intent to

Distribute More than 1000 Kilograms of Marijuana. (United States v. Tamez, Criminal

No. 2:12-CR-418 (United States v. Tamez), D.E. 10). On July 25, 2012, a superseding

indictment was returned, adding a charge of Money Laundering against Plaintiff. (Id.,

D.E. 211).

         On October 4, 2012, Plaintiff pled guilty to conspiracy with intent to distribute

more than 1,000 kilograms of marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(A) (Count One) and money laundering in violation of 18 U.S.C. §§

1956(a)(1)(B)(i) and 1956(a)(2) (Count Six). (Id., D.E. 387). On March 31, 2013,

Plaintiff was sentenced by United States District Judge Nelva Gonzales Ramos to 324

months in prison. (Id., D.E. 657).

         On February 1, 2018, Plaintiff filed in his criminal case a Motion to Return

Personal Property. (Id., D.E. 963). Plaintiff seeks the return of approximately 30 pieces



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of gold jewelry that he claims were seized by ICE agents executing a search warrant on

June 7, 2012, on Plaintiff’s Compass Bank safety deposit box.

         On February 5, 2018, District Judge Nelva Gonzalez Ramos ordered the United

States to respond to Plaintiff’s motion. (Id., D.E. 965). The government acknowledged

in its response that, following Plaintiff’s arrest, federal agents executed a search warrant

for his Compass Bank safety deposit box and seized 30 pieces of jewelry, along with

$213,259.24 in cash.      (Id., D.E. 969, pp. 1-2).     Agents immediately commenced

administrative forfeiture proceedings.       According to the United States, Homeland

Security Investigations (HSI) agents published notice in the McAllen Monitor Newspaper

on July 29, 2012, August 5, 2012, and August 12, 2012. (Id., D.E. 969-1, p. 1). HSI

agents also provided notice on June 20, 2012, via certified mail at Plaintiff’s and his

wife’s residence at 6557 FM 1430, Rio Grande City, Texas, 78582. (Id., D.E. 969-1, pp.

2-5). Plaintiff’s property was administratively and finally forfeited by HSI on August 19,

2012 and sold at auction on June 6, 2013. ((Id., D.E. 969-1, pp. 1, 10). The United

States asserts, therefore, that it is no longer in possession of any property listed in

Plaintiff’s motion. (Id., D.E. 969, p. 2).

         In his reply, Plaintiff contended that the United States’ notice was “grossly

insufficient” because: (1) the government should have known that Plaintiff was in

custody and not living with his wife at the time the notice was sent; (2) the government

did not acknowledge that it sent notice to his wife, whose name was also on the safety

deposit box; and (3) the government’s three postings in the newspaper was not sufficient

to meet the “30 consecutive days” requirement under the applicable public notice statute.

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(Id., D.E. 971, pp. 2-3). Because the United States no longer has possession of the

subject property, Plaintiff argued that he “should be allowed to submit an amended

complaint under Bivens, the FTCA,1 CAFRA,2 or any other appropriate cause of action,

so as to recoup the value of the property” taken by the United States’ agents. ((Id., D.E.

971, p. 3). Along with his reply, Plaintiff filed a motion asking the Court set aside the

administrative forfeiture. (Id., D.E. 973).

           After considering the pleadings filed in the criminal action, United States District

Judge Ramos entered an Order to Realign the Parties and for Compliance with the PLRA.

(Id., D.E. 981). Judge Ramos directed the Clerk to sever Plaintiff’s motions for return of

property and to set aside forfeiture from the criminal case and open a civil action with the

parties realigned. Plaintiff subsequently complied with the Court’s direction and applied

to proceed in forma pauperis, which was granted by the undersigned. (D.E. 3, 5, 6, 8).

           On April 5, 2018, Plaintiff consented to proceed before a magistrate judge. (D.E.

7). On April 11, 2018, Judge Ramos reassigned the case to the undersigned magistrate

judge pursuant to 28 U.S.C. § 636 and Neals v. Norwood, 59 F.3d 530 (5th Cir. 1995).

(D.E. 10). The defendants filed a consent form on October 2, 2018. (D.E. 43).

           On April 23, 2018, the undersigned terminated Plaintiff’s motion for return of

property (D.E. 1) and motion to set aside forfeiture (D.E. 2) insofar as they purported to

be motions. (D.E. 14). On April 23, 2018, the undersigned also ordered service of these

pleadings on the Government. (D.E. 17). That same day, the United States filed a

1
    The Federal Torts Claims Act (FTCA), 28 U.S.C. §§ 1346, 2671, et seq.
2
    The Civil Asset Forfeiture Reform Act of 2000 (CAFRA), 18 U.S.C. § 983(a).

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motion to dismiss Plaintiff’s lawsuit. (D.E. 19). On May 11, 2018, Plaintiff filed a

response to Plaintiff’s motion to dismiss. (D.E. 28).

         On April 27, 2018, Plaintiff filed a motion seeking leave to amend his complaint.

(D.E. 24). Plaintiff did not attach a copy of the proposed amended pleading and instead

requested an additional 30 days to prepare it. Plaintiff stated that he seeks to add

individual defendants, specifically several government agents who seized the property at

issue, as well as additional claims under the FTCA, Bivens, and state law. (D.E. 24). The

undersigned granted Plaintiff’s motion and directed him to file his amended complaint on

or before May 21, 2018. (D.E. 26).

         On May 23, 2018, Plaintiff filed a motion seeking leave to amend his complaint

along with a proposed amended complaint.           (D.E. 32).   The undersigned granted

Plaintiff’s motion, and Plaintiff’s First Amended Complaint was docketed in this case.

(D.E. 34, 35).

         In his First Amended Complaint, Plaintiff named the United States and the

following individual defendants in their individual and official capacities: (1) Julie

Hampton, Assistant United States Attorney; (2) Lisa Lopez, officer with Customs &

Border Protection, Department of Homeland Security (CBP-DHS); (3) Grace Reyes,

paralegal specialist with the CBP-DHS; (4) Leticia Martinez, paralegal specialist with the

CBP-DHS; (5) Sandra Caceras-Navarrete; (6) Alex De Armas, Regional Manager; and

(7) John Doe. Plaintiff claims that his property was illegally taken, in violation of state

law, the FTCA, and Bivens. (D.E. 35, pp. 1, 10).



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         On June 26, 2018, the United States filed an amended motion to dismiss pursuant

to Federal Rule of Civil Procedure 12(b)(1). (D.E. 33). On July 23, 2018, Plaintiff filed

his response to the Government’s motion. (D.E. 36). The United States subsequently

filed its reply. (D.E. 41). Plaintiff then filed a supplemental notice (D.E. 39) and a sur-

reply (D.E. 42). On October 4, 2018, Plaintiff filed a motion for leave to file a second

amended complaint. (D.E. 44).

III.     DISCUSSION

         A.   Administrative Forfeiture under CAFRA

         As part of the underlying criminal proceeding, Plaintiff moved the Court pursuant

to 18 U.S.C. § 983(a) to set aside the administrative forfeiture of his jewelry seized by the

United States in June 2012. (United States v. Tamez, Criminal No. 2:12-CR-418, D.E.

973). When Judge Ramos opened this civil action, Plaintiff’s motion to set aside the

forfeiture was docketed therein. (D.E. 2).

         The United States sought dismissal of Plaintiff’s § 983(a) claim in its first motion

to dismiss. (D.E. 19). Plaintiff moved to amend his complaint, seeking to add individual

defendants as well as additional claims under the FTCA, Bivens, and for conversion.

(D.E. 24). Plaintiff subsequently filed a detailed response to the United States’ first

motion to dismiss, raising arguments in support of setting aside the administrative

forfeiture. (D.E. 28).

         In Plaintiff’s second motion to amend complaint, Plaintiff expressed a desire to

have his attached First Amended Complaint serve as the operative pleading in this case.

(D.E. 32, p. 1). Plaintiff’s First Amended Complaint, docketed on June 27, 2018, did not

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specifically reaffirm his earlier request to set aside the administrative forfeiture pursuant

to § 983(a).        A review of the First Amended Complaint reveals Plaintiff’s general

allegations that his property was improperly taken from him. (D.E. 35, p. 9). In his

prayer for relief, however, Plaintiff only seeks monetary relief. Thus, it appears that

Plaintiff may not seek as a remedy to set aside the administrative forfeiture pursuant to §

983(a).3 Nevertheless, in an abundance of caution based on a review of all of Plaintiff’s

submissions, the undersigned will consider Plaintiff’s claim pursuant to § 983(a).

                  (1) Applicable Legal Standard

         In its first motion to dismiss, the United States asserts that Plaintiff is barred from

contesting the administrative forfeiture of his jewelry by the five-year statute of

limitations set forth in § 983(e)(3). (D.E. 19). The United States, however, does not

specify whether it seeks dismissal of Plaintiff’s § 983(a) claim pursuant to any particular

subsection of Federal Rule of Civil Procedure 12(b). In general, a statute-of-limitations

defense is properly raised in a Rule 12(b)(6) motion. See Jones v. Alcoa, Inc., 339 F.3d

359, 366 (5th Cir. 2003); Watts v. Graves, 720 F.2d 1416, 1423 (5th Cir. 1983); Cobar v.

Drug Enforcement Admin. Asset Forfeiture Section, No. 12 Civ. 7415, 2014 WL

1303110, at *6 (S.D. N.Y. Mar. 31, 2014). Accordingly, the undersigned will construe

the United States’ motion to dismiss as one made under Rule 12(b)(6). See Newberry v.

Champion, No. 3:16-CV-143, 2017 WL 1074463, at *5 (N.D. Miss. Mar. 17, 2017)



3
  As part of his response to the United States’ amended motion to dismiss, Plaintiff appears to seek equitable relief
under the Administrative Procedure Act (“APA”), 5 U.S.C § 702, with respect to setting aside the administrative
forfeiture of his seized jewelry. (D.E. 36, pp. 7, 14). Issues surrounding Plaintiff’s request for equitable relief under
the APA are discussed herein.

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(recognizing that the Court can construe a motion to dismiss as one raised under Rule

12(b)(6)).

         Rule 12(b)(6) provides for dismissal of an action for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is said to be

plausible if the complaint contains “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678.

         When considering a motion to dismiss, district courts are “limited to the

complaint, any documents attached to the complaint, and any documents attached to the

motion to dismiss that are central to the claim and referenced by the complaint.” Lone

Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). A

court ruling on a Rule 12(b)(6) motion may also consider matters of which the court takes

proper judicial notice. See Davis v. Bayless, 70 F.3d 367, 372 n. 3 (5th Cir. 1995)

(“Federal courts are permitted to refer to matters of public record when deciding a Rule

12(b)(6) motion to dismiss.”); Cinel v. Connick, 15 F.3d 1338, 1343, n.6 (5th Cir. 1994)

(“In deciding a 12(b)(b)(6) motion to dismiss, a court may permissibly refer to matters of

public record.”).




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               (2) Applicable Legal Principles

         CAFRA sets forth the general rules for civil forfeiture proceedings. 18 U.S.C. §

983. When CAFRA was enacted in 2000, its statutory provisions became “the exclusive

remedy for seeking to set aside a declaration of forfeiture under a civil forfeiture statute.”

18 U.S.C. § 983(e)(5).

         Under CAFRA, personal notice must be sent to any person with an interest in the

seized property within sixty days of the seizure. See Landry v. United States, 600 F.

App’x 216, 219 (5th Cir. 2015) (citing 18 U.S.C. § 983(a)(1)(A)(i)). “To initiate [a civil

non-judicial forfeiture proceeding], the Government must send personal notice to any

person with an interest in the seized property and publish notice once a week for three

successive weeks in a newspaper generally circulated in the judicial district where the

property was seized. Id. at 219-20 (citing 19 U.S.C. § 1607(a)(4) and 28 C.F.R. §

8.9(a)(1)(i), (b)(1)). Any challenge to an administrative forfeiture must be filed within

thirty-five days after the date the personal notice is mailed, or if personal notice is not

received, then no later than thirty days after the date of final publication of notice of

seizure. Id. at 220 (citing 18 U.S.C. § 983(a)(2)(B)).

         Failure to timely file a claim results in the property being administratively

forfeited. See 19 U.S.C. § 1609. Conversely, “[i]f a claim is filed, the administrative

forfeiture proceedings are cancelled and referred to the United States Attorney’s Office

for initiation of judicial forfeiture proceedings.” Conard v. United States, 470 F. App’x

336, 338 (5th Cir. 2012). “Once an administrative forfeiture is complete, the district



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court may review only “whether the forfeiture comported with constitutional due process

guarantees.” Id. (citations and internal quotations omitted).

        CAFRA further authorizes an interested party a mechanism to challenge the

seizure of property after a forfeiture proceeding has been completed. Specifically, the

statute provides in pertinent part:

        Any person entitled to written notice in any nonjudicial civil forfeiture
        proceeding under a civil forfeiture statute who does not receive such notice
        may file a motion to set aside a declaration of forfeiture with respect to that
        person’s interest in the property, which motion shall be granted if:

                 (A)      the Government knew, or reasonably should have known of
                          the moving party’s interest and failed to take reasonable steps
                          to provide such party with notice; and

                 (B)      the moving party did not know or have reason to know of the
                          seizure within sufficient time to file a timely claim.

18 U.S.C. § 983(e)(1).

                 (3) Does CAFRA Apply to this Case?

        The United States asserts that the exclusive remedy for challenging an

administrative forfeiture of property is 18 U.S.C. § 983(e).                        (D.E. 19).       Citing an

unpublished decision in United States v. Bacon, 546 F. App’x 496 (5th Cir. 2013),4

however, Plaintiff suggests “that the applicability of § 983, and CAFRA in general, is in

any event debatable” in this case. (D.E. 28, p. 12).




4
  “An unpublished decision issued after January 1, 1996 is not controlling precedent but may be persuasive
authority” for courts presiding within the Fifth Circuit. Ballard v. Burton, 444 F.3d 391, 401 n.7 (5th Cir. 2006)
(citing 5th Cir. R. 47.5.4).

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       In Bacon, Welles D. Bacon moved for the return of seized property pursuant to §

983. Bacon, 546 F. App’x at 498. The forfeiture notice mailed to Bacon stated that the

U.S. Customs and Border Patrol (CBP) “will seek to forfeit [Bacon’s] property by

administrative action in accordance with section 607, Tariff Act of 1930, as amended (19

U.S.C. [§] 1607).” Id. at 499. Section 983(i)(2)(A) specifically provides that § 983 does

not apply to “the Tariff Act of 1930 or any other provision of the law codified in Title

19.”   18 U.S.C. § 983(i)(2)(A).      Relying on this “clear statutory language” of this

subsection, the Fifth Circuit concluded that § 983 was “inapplicable to Bacon’s claim.”

Bacon, 546 F. App’x at 498-99.

       In this case, the applicable forfeiture notice regarding the seizure of Plaintiff’s

jewelry provides as follows:

       In accordance with the provisions of title 19, United States Code, section
       1608 and 1610 and title 19, Code of Federal Regulations, part 162.45, the
       following described property is hereby declared forfeited for violation of
       the following:

       18 U.S.C 1956 &18 USC 1957 for violation of 18 USC 981[.]

(United States v. Tamez, D.E. 969, p. 1 (emphasis in original)). This forfeiture notice,

therefore, references statutes in both Title 18 and Title 19.

       In a published decision decided after Bacon, the Fifth Circuit recognized that the

provisions set forth in 19 U.S.C. §§ 1602-1621 are procedural in nature. Vasquez v.

United States Drug Enforcement Admin., 823 F.3d 280, 281 (5th Cir. 2016). Because

Plaintiff’s forfeiture notice refers to § 981 of Title 18 as well as other criminal statutes,

the reference to the Title 19 procedural guidelines in the forfeiture notice does not operate

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to vest statutory authority for the proceedings solely in Title 19. Rather than through the

procedural guidelines identified in the Title 19 statutes, the forfeiture of Plaintiff’s

jewelry was authorized under § 981 of Title 18. See 18 U.S.C. § 981(a)(1) (providing

that the federal forfeiture laws make the proceeds or property involved in the proceeds of

certain specified unlawful activity subject to forfeiture). The undersigned concludes,

therefore, that CAFRA applies to this case because the administrative forfeiture

proceeding did not arise pursuant to a “provision of law codified in title 19.” See Can v.

United States Drug Enforcement Agency, 764 F. Supp. 2d 519, 520 n.1 (W.D. N.Y. Jan.

21, 2011) (concluding that there was “no support for the proposition that the

Government’s mere use of Title 19 procedural guidelines for a forfeiture proceeding

authorized by another title somehow vests statutory authority for the proceedings solely

in Title 19”).5

                  (4) Statute of Limitations

        CAFRA provides in pertinent part that “[a] motion to set aside the declaration of

forfeiture must be filed no later than five years after the date of final publication of notice

of seizure.” Landry, 600 F. App’x at 220 (citing 18 U.S.C. § 983(e)(3)). The United

States contends, therefore, that Plaintiff is barred from contesting the administrative

forfeiture of his jewelry by the five-year limitation period in § 983(e)(3) as the property

was seized in June 2012 and the last day of publication of notice of the seizure was

August 18, 2012. (D.E. 19).

5
 In two recent decisions, the Fifth Circuit stated that the forfeiture proceedings were governed by CAFRA despite
expressly referring to certain procedural guidelines set forth in 19 U.S.C. §§ 1602-1621. Conard, 470 F. Appx. at
338; United States v. Foster, 635 F. Appx. 818, 820 (5th Cir. 2015).

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       Plaintiff’s jewelry, consisting of 30 gold pieces, was seized by ICE agents in June

2012, and the last day of publication of the notice of seizure occurred on August 12,

2012. (United States v. Tamez, D.E. 969-1, pp. 1-2). Plaintiff then initiated the instant

action more than five years later on February 1, 2018, when he filed his motion for return

of property in the underlying criminal case.        (Id., D.E. 963).    Unless Plaintiff can

establish that the five-year limitations should be tolled in some manner, his challenge

pursuant to § 983 of CAFRA is statutorily barred.

       Plaintiff asserts that the principles of equitable tolling should be considered in this

case to the extent that his claim under § 983 be considered timely. (D.E. 28, p. 17).

Plaintiff states that he first learned about the administrative forfeiture of his jewelry when

the Government filed its response in February 2018 in the criminal proceeding to his Rule

41(g) motion seeking return of his property. (D.E. 28, pp. 5, 17-18).        Plaintiff argues

that the Government failed to provide him with notice of the administrative forfeiture in

the summer of 2012 as the notice was mailed to the street address where his “then-wife”

resided instead of to his address at the jail. (D.E. 28, pp. 6-7). Plaintiff, contends,

therefore, that the Government and its agents acted in bad faith in withholding the written

notice from him, thereby resulting in the deprivation of Plaintiff’s “constitutionally-

protected rights to ownership of property and due process of law.” (D.E. 28, pp. 7, 10).

Lastly, Plaintiff argues that he has pursued his rights diligently with respect to appealing

his criminal conviction in various ways over the years. (D.E. 28, p. 17).

       At the outset, it is unclear whether the Fifth Circuit even recognizes that equitable

tolling applies in connection with the limitations period set forth in § 983(e)(3). In

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Landry, the Fifth Circuit concluded that the federal prisoner’s challenge to the 2006

administrative forfeiture of his property was time barred by the running of the five-year

statute of limitations contained in § 983(e)(3). Landry, 600 F. App’x at 220. In a

footnote, the Landry court considered the prisoner’s equitable tolling argument but held

they were without merit. Id. at 220 n. 4.

       Following Landry, the Fifth Circuit in Vasquez likewise affirmed the district

court’s decision that federal prisoner’s action was untimely pursuant to § 983(e)(3).

Vasquez, 823 F.3d at 282. The Fifth Circuit went on, however, to state that “[w]e need

not decide whether equitable tolling applies to a statute such as 18 U.S.C. § 983(e) that

itself seems designed to cut off rights in full after a lengthy period of time for a person

who failed to receive the requisite statutory notice.” Vasquez, 823 F.3d at 282. The

Vasquez court nevertheless noted that the federal prisoner had failed to act with diligence

in pursuing his rights. Id.

       While the Vasquez court suggests that principles of equitable tolling may not apply

with respect to the lengthy five-year limitations period set forth in § 983(e)(3), the

undersigned nevertheless will consider whether the limitations period should be equitably

tolled in the instant case. “Generally, a litigant seeking equitable tolling bears the burden

of establishing two elements: (1) that he has been pursuing his rights diligently, and (2)

that some extraordinary circumstance stood in the way.” Pace v. DiGuglielmo, 544 U.S.

408, 418 (2005).

       Even accepting Plaintiff’s allegations in his First Amended Complaint as true,

Plaintiff alleges nothing to suggest that he pursued his rights diligently in seeking return

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of his seized property or setting aside the administrative forfeiture. He further has failed

to allege any extraordinary circumstances that prevented him from timely seeking to set

aside the forfeiture.

        Plaintiff’s alleges in his First Amended Complaint that, through the information

provided in his Pre-Sentence Report, he first became aware of the seizure of his jewelry

during the pendency of his federal criminal case at some point between his re-

arraignment on October 4, 2012 and his sentencing on March 28, 2013. (D.E. 35, pp. 7-

8)    The seizure of Plaintiff’s jewelry was further mentioned at Plaintiff’s sentencing

hearing. (D.E. 754, Sentencing Transcript, p. 70).6 However, despite knowing about the

seizure of his jewelry at an early stage in the five-year limitation period commencing on

August 18, 2012, Plaintiff made no inquiries about the jewelry or otherwise attempted to

retrieve the property until after the expiration of the five-year limitations period. See

Cobar, 2014 WL 1303110, at *8 (rejecting plaintiff’s contention that the limitations

period set forth in § 983(e)(3) should be equitably tolled because he was aware of the

seizure of property at the time of his arrest but made no effort to retrieve the property

until nearly eight years later).

        Plaintiff’s allegations primarily point to the fact that he failed to receive notice of

the administrative forfeiture. However, even taken as true, such allegations are “not the

type of ‘extraordinary circumstance’ that warrants equitable tolling.” Cobar, 2014 WL

1303110, at *9 (recognizing that there is no equitable tolling where plaintiff was aware of

6
  As Plaintiff’s sentencing hearing is a matter of public record, the undersigned takes judicial notice of same and
shall consider it in connection with the United States’ Rule 12(b)(6) motion to dismiss. See King v. Nalley, No.
TDC-17-0628, 2017 WL 4221062, at *2 (D. Md. Sep. 21, 2017) (recognizing that a transcript is a court record
subject to judicial notice).

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seizure even though the Government negligently failed to provide plaintiff with notice of

the forfeiture proceeding). Because Plaintiff’s § 983 claim seeking to set aside the

administrative forfeiture is barred by the running of the five-year statute of limitations

and his arguments for equitable tolling fail, the undersigned GRANTS the United States’

Rule 12(b)(6) motion to dismiss (D.E. 19).

       B.    FTCA Claim

       In his First Amended Complaint, Plaintiff claims that that his jewelry was illegally

taken in violation of the FTCA.        (D.E. 35, pp. 1, 10).     Plaintiff alleges that the

Government, in its official capacity, is responsible for its agents’ improper taking of his

jewelry and for failing to provide him with proper notice of the administrative forfeiture.

       Pursuant to Rule 12(b)(1), the Government advances three independent reasons as

to why this case should be dismissed. (D.E. 33). The Government contends that: (1) it is

shielded from liability for any FTCA claims by the “custom duty exception” set forth in

28 U.S.C. § 2680(c) (D.E. 33, pp. 5-6); (2) Plaintiff’s FTCA claims are time-barred by

the applicable two-year statute of limitations (D.E. 33, pp. 6-9); and (3) Plaintiff’s FTCA

claims are barred by his failure to exhaust administrative remedies in a timely and proper

fashion (D.E. 33, pp. 9-11). In support of its Rule 12(b)(1) motion for dismissal, the

United States has attached the following evidence:

       Exh. 1 - Plaintiff’s Administrative Claim for Damage, Injury or Death,
       dated March 14, 2018 (D.E. 33-1);

       Exh. 2 - CAFRA Seizure Notice dated June 20, 2012 (D.E. 33-2);

       Exh. 3 - Declaration of Administrative Forfeiture (D.E. 33-3);


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         Exh. 4 - Disposition Order, dated June 6, 2013 (D.E. 33-4);

         Exh. 5 - Excerpts from Plaintiff’s Re-arraignment Transcript, dated October
         4, 2012 (D.E. 33-5); and

         Exh. 6 - Excerpts from Plaintiff’s Sentencing Transcript, dated March 28,
         2013 (D.E. 33-6).

         As an initial manner, Plaintiff contends that the United States’ amended motion to

dismiss actually seeks summary judgment under Federal Rule of Civil Procedure 56 and

should, therefore, be struck as premature. (D.E. 36, p. 2). Plaintiff nevertheless advances

arguments that the Government is not entitled to protection by the “customs duty

exception” and that the limitations period for bringing FTCA claims is subject to

equitable tolling. (D.E. 36, pp. 5-13). Plaintiff acknowledges, however, that he recently

filed an FTCA administrative claim on March 14, 2018 and that such administrative

claim was pending at the time he filed his First Amended Complaint. (D.E. 36, pp. 13-

14).

         Before considering the substance of any claim, the threshold question is

determining whether the court possesses jurisdiction over the claim.          Under Rule

12(b)(1), a case is properly dismissed for lack of subject matter jurisdiction when the

court lacks the statutory or constitutional power to adjudicate the case. Home Builders

Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (citing

Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1887 (2d Cir. 1996)).

Without jurisdiction conferred by any federal statute or the Constitution, federal courts

lack the power to adjudicate claims. Exxon Mobile Corp. v. Allapattah Servs., Inc., 545

U.S. 546, 552 (2005).

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          Lack of subject matter jurisdiction may be found in three instances: (1) the

complaint alone; (2) the complaint supplemented by undisputed facts evidenced in the

record; or (3) the complaint supplemented by undisputed facts plus the court’s resolution

of disputed facts. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). Once

the subject matter jurisdiction has been challenged, the party asserting jurisdiction retains

the burden of proof that jurisdiction truly does exist. Id.

       “The FTCA confers on federal courts exclusive jurisdiction of civil actions on

claims against the United States for money damages for personal injury caused by the

negligent or wrongful acts or omissions of any federal employee while acting within the

scope of his office or employment.” Esquivel-Solis v. United States, 472 F. App’x 338,

339 (5th Cir. 2012) (citing 28 U.S.C. § 1346(b)(1)). “FTCA claims may be brought

against only the United States, and not the agencies or employees of the United States.”

Id. (citing 28 U.S.C. §§ 2671, 2679 and Galvin v. OSHA, 860 F.2d 181, 183 (5th Cir.

1988)).

       However, a plaintiff is limited in his ability to bring an FTCA claim against the

United States by the following exhaustion of remedies provision:

       An action shall not be instituted upon a claim against the United States for
       money damages for injury or loss of property or personal injury or death
       caused by the negligent or wrongful act or omission of any employee of the
       Government while acting within the scope of his [or her] office or
       employment, unless the claimant shall have first presented the claim to the
       appropriate Federal agency and his [or her] claim shall have been finally
       denied by the agency in writing and sent by certified or registered mail.




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28 U.S.C. § 2675(a). “This ‘requirement of exhaustion of administrative review is a

jurisdictional requisite to the filing of an action under the FTCA’ and cannot be waived.

Garcia v. United States, No. 4-16-CV-11, 2016 WL 1638779, at *3 (S.D. Tex. Apr. 25,

2016) (quoting Gregory v. Mitchell, 634 F.2d 199, 203-04 (5th Cir. 1981)). If a plaintiff

fails to exhaust his or her remedies by obtaining a final agency denial as required by §

2675(a), the federal district courts lack subject matter jurisdiction over the claim and

must dismiss the claim as premature. See Price v. United States, 69 F.3d 46, 54 (5th Cir.

1995); Gregory, 634 F.2d at 204.

       Section 2675(a) provides that “[t]he failure of an agency to make final disposition

of a claim within six months after it is filed shall, at the option of the claimant any time

thereafter, be deemed a final denial of the claim for purposes of this section.” 28 U.S.C.

§ 2675(a). If a plaintiff “untimely” files suit “before the expiration of the six-month

waiting period,” however, the FTCA action “cannot become timely by the passage of

time after the complaint is filed.” Price, 69 F.3d at 54 (citing McNeil v. United States,

508 U.S. 106, 113 (1993)). A plaintiff, therefore, cannot commence a lawsuit under the

FTCA “unless the plaintiff has filed an administrative claim and either obtained a written

denial or waited six months.” Id. (citing 28 U.S.C. § 2675(a)).

       In this case, it is undisputed that Plaintiff filed his administrative FTCA claim on

March 14, 2018. Plaintiff then brought his FTCA claim against the United States on May

23, 2018 when he filed attached his First Amended Complaint to his motion seeking

leave to amend his complaint. (D.E. 32). Plaintiff did not receive a response to his

FTCA administrative claim before filing his FTCA claim in this case. In addition,

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Plaintiff filed his First Amended Complaint before the expiration of the six-month

waiting period. Insofar as Plaintiff contends that his FTCA claim should be dismissed

because the six-month period has recently passed, such contention has no merit because §

2675(a) “requires that jurisdiction must exist at the time the complaint is filed.” Gregory,

634 F.2d at 204.

        Accordingly, Plaintiff’s FTCA claim are DISMISSED for lack of subject matter

jurisdiction.     Because Plaintiff has failed to satisfy the jurisdictional prerequisite of

exhausting his available administrative remedies, it is unnecessary and perhaps premature

to consider the United States’ alternative grounds for seeking dismissal of his FTCA

claims.

        C. Additional Claims

             (1) Bivens Claim

        Although somewhat unclear, Plaintiff appears to raise Bivens claims against the

United States in his First Amended Complaint. (D.E. 35, p. 10).7 “A Bivens action is the

counterpart to a § 1983 civil rights action and extends to parties injured by federal actors

the protections afforded under § 1983 to parties injured by state actors.” Grainger v.

Federal Bureau of Prisons, No. C-08-387, 2009 WL 47127, at *2 (S.D. Tex. Jan. 6,

2009) (citing Carlson v. Green, 446 U.S. 14, 18 (1980)). A Bivens action, however, only

provides a remedy against federal government officials acting in their individual

capacities and does not provide a cause of action against the United States. See FDIC v.


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  In his First Amended Complaint, Plaintiff raises Bivens and state law claims against several federal officials. By
separate order, the undersigned will order service of process on these individuals.

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Meyer, 510 U.S. 471, 484-86 (1994); Moore v. United States Dep’t of Agric., 55 F.3d

991, 995 (5th Cir. 1995).

       Additionally, to the extent Plaintiff is raising a Bivens action based on the actions

of any of the named defendants or other federal actors, such claims are unavailable to

Plaintiff. “Since Bivens, the Supreme Court has repeatedly rejected extending Bivens

remedies to other constitutional claims.” Rankin v. United States, 556 F. App’x 305, 311

(5th Cir. 2014) (citing Wilkie v. Robbins, 551 U.S. 537, 549 (2007)). In Rankin, the

plaintiff filed a Bivens action complaining his constitutional rights were violated when

federal agents allegedly exceeded the scope of a search warrant in seizing certain

property. Id. The property was subject to administrative forfeiture proceedings and was

subsequently destroyed.      The Fifth Circuit held, “[b]ecause CAFRA provides a

comprehensive scheme for protecting property interests, no Bivens claim is available.”

Id. (citing Bush v. Lucas, 462 U.S. 367, 385–89 (1983) and Schweiker v. Chilicky, 487

U.S. 412, 424–27 (1988)).

       Neither the United States nor any individual defendant moved to dismiss

Plaintiff’s Bivens claims. Section 1915(e)(2)(B) nevertheless mandates dismissal “at any

time” if the court determines that the action “fails to state a claim on which relief may be

granted” or “is frivolous or malicious.”     28 U.S.C. 1915(e)(2)(B). Accordingly, the

undersigned finds no Bivens claim is available to Plaintiff. Therefore, Plaintiff’s Bivens

claims against the United States and all individual defendants are DISMISSED pursuant

to § 1915(e)(2)(B).



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           (2) APA Claim

       Plaintiff also appears to raise a Fifth Amendment due process claim against the

United States under the Administrative Procedure Act (“APA”), 5 U.S.C § 702. While

generally referring to due process and federal common law claims in his First Amended

Complaint, Plaintiff enumerates this claim in his response to the United States’ amended

motion to dismiss.      (D.E. 36, pp. 7, 14).      Plaintiff specifically asserts a “Fifth

[A]mendment equitable claim under the” APA based on his allegations that ICE officials

illegally seized his property and then withheld the notice of administrative seizure. (D.E.

35, p. 10; D.E. 36, pp. 7, 14).

       Plaintiff chiefly relies on Polanco v. United States Drug Enforcement Admin., 158

F.3d 647 (2d. Cir. 1998) as support for his APA claim seeking equitable relief. In

Polanco, the plaintiff claimed that the government violated his due process rights under

the Fifth Amendment by failing to notify him that it intended to forfeit property seized

from him consisting of $6,920 in United States currency. Id. at 649. The Second Circuit

ultimately allowed the plaintiff to bring a cause of action for equitable relief. Id. at 651-

52. Even though the plaintiff sought money from the government, the Second Circuit

determined that his claim against the Drug Enforcement Agency (DEA) was not barred

by the doctrine of sovereign immunity because the remedy he sought involved the

correction of a procedural deficiency by: (1) vacating the administrative forfeiture; and

(2) requiring the DEA to either return his property to him or begin a new forfeiture

proceeding that complied with both agency procedure and the due process. Id. at 652.



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       The Polanco court recognized that the plaintiff’s cause of action against a

governmental agency fell under § 702 of the APA in that he only sought equitable relief.

Id. Indeed, the APA waives sovereign immunity in an action seeking equitable relief

from wrongful agency action, except where (i) the action also seeks monetary relief; (ii)

there is an adequate remedy at law; or (iii) the action is precluded from judicial review by

statute or committed by law to agency discretion. See 5 U.S.C. §§ 701 & 702.

       Contrary to the plaintiff in Polanco, Plaintiff does not exclusively seek equitable

relief in his First Amended Complaint. His amended complaint primarily seeks monetary

damages. Furthermore, the only equitable relief available to Plaintiff in seeking to set

aside the administrative forfeiture arises under, which became effective after the Second

Circuit issued its decision in Polanco. CAFRA, as discussed above, expressly provides

the “exclusive remedy for seeking to set aside a declaration of forfeiture ....” 18 U.S.C. §

983(e). See also Hayes v. United States, No. 08 Civ. 6525, 2009 WL 1856789, at *9

(S.D. N.Y. Feb. 18, 2009) (“Continued recognition of the equitable action recognized in

Polanco would violate subsection 983(e)’s express role as the exclusive remedy for

challenges based on lack of notice.”). Because an adequate equitable remedy exists

solely under CAFRA, Plaintiff cannot prevail on his Fifth Amendment claim for

equitable relief brought against the United States or one of its agencies pursuant to the

APA. Accordingly, to the extent Plaintiff has raised an equitable due process claim under

the APA, such claim against the United States is DISMISSED pursuant to §

1915(e)(2)(B).



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IV.        PLAINTIFF’S MOTION TO AMEND

           Rule 15(a) provides that leave to amend “shall be freely given when justice so

requires.”        Determining when justice requires permission to amend rests within the

discretion of the trial court. Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S.

321, 330 (1971); Smith v. EMC Corp., 393 F.3d 590, 595 (5th Cir. 2004). A federal court

has discretion to deny a motion to amend when that amendment would be futile. Foman

v. Davis, 371 U.S. 178, 182 (1962); Martin’s Herend Imports, Inc. v. Diamond & Gem

Trading U.S. Am. Co., 195 F.3d 765, 771 (5th Cir. 1999). “An amendment is futile if it

would fail to state a claim upon which relief could be granted.” Stripling v. Jordan Prod.

Co., 234 F.3d 863, 873 (5th Cir. 2000).

           Plaintiff states in his motion to amend that he submitted a Standard Form 95 8 to

the United States on March 14, 2018 and that six months have passed without the claim

being acted upon. The implication being that Plaintiff believes he has met the FTCA

exhaustion prerequisite by exhausting his administratively remedies. In McNeil v. United

States, 508 U.S. 106 (1993), the Court held that the FTCA requirement that

administrative remedies be exhausted before filing suit was not satisfied by agency

rejecting the claim after the suit was filed. Id. at 113. Exhaustion is a prerequisite to

filing suit and jurisdiction must exist at the time the complaint is filed. Gregory, 634

F.2d at 204. Plaintiff did not exhaust his administrative remedies before filing suit,

therefore his proposed amended complaint would not alter the analysis that his FTCA

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    A Standard Form 95 is the form used to present claims under the Federal Tort Claims Act.

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claim be dismissed.     Plaintiff’s motion to amend is DENIED because his proposed

amendments would be futile.

V.     CONCLUSION

       For the foregoing reasons, the United States’ Motion to Dismiss (D.E. 19) is

GRANTED and Plaintiff’s § 983 claim under CAFRA is DISMISSED with prejudice.

Further, the United States’ Amended Motion to Dismiss under Rule 12(b)(1) (D.E. 33) is

GRANTED and Plaintiff’s FTCA claim is DISMISSED for lack of subject matter

jurisdiction due to Plaintiff’s failure to exhaust his administrative remedy prior to filing

his First Amended Complaint. Further, Plaintiff’s Bivens claims against the United States

and the individual defendants and his APA claims against the United States are

DISMISSED pursuant to 28 U.S.C. § 1915(e)(2)(B). Lastly, Plaintiff’s motion to amend

(D.E. 44) is DENIED.

       ORDERED this 10th day of October 2018.


                                              ___________________________________
                                                           Jason B. Libby
                                                    United States Magistrate Judge




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